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1    BENJAMIN B. WAGNER
     United States Attorney
2    DANIEL S. McCONKIE
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, CA 95814
4    (916) 554-2700
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7                                  IN THE UNITED STATES DISTRICT COURT

8                                 FOR THE EASTERN DISTRICT OF CALIFORNIA

9

10   UNITED STATES OF AMERICA,                          )   CR NO. 2:10-CR-0507-01-WBS
                                                        )
11               Plaintiff,                             )   STIPULATION AND ORDER FOR
      v.                                                )
12                                                      )   CONTINUANCE OF JUDGMENT AND
                                                        )   SENTENCING AND MODIFICATION OF
13   ALVINO SALMERON,                                   )   SCHEDULE FOR PSR
                                                        )
14               Defendant.                             )
                                                        )
15                                                      )
16

17          IT IS HEREBY STIPULATED that the Judgment and Sentencing scheduled for June 17, 2013,

18   at 9:30 a.m. is continued to August 26, 2013, at 9:30 a.m. The continuance is requested to allow the
19
     parties sufficient time to resolve any dispute in connection with the Pre-Sentence Report.
20
     Daniel McConkie, Assistant United States Attorney, and Thomas A. Johnson, Defendant’s attorney,
21
     agree to this continuance.
22

23

24   DATED: March 14, 2013                                       By:    /s/ Daniel S. McConkie
                                                                        DANIEL S. McCONKIE
25                                                                      Assistant U.S. Attorney
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1    DATED: March 14, 2013                               BENJAMIN B. WAGNER
2                                                        United States Attorney

3                                                  By:   /s/ Daniel S. McConkie for
                                                         THOMAS A. JOHNSON
4                                                        Attorney for Alvino Salmeron
                                                         [per email authorization]
5

6
     IT IS SO ORDERED.
7
     DATED: March 15, 2013
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10                                           WILLIAM B. SHUBB
                                             UNITED STATES DISTRICT JUDGE
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4                                 IN THE UNITED STATES DISTRICT COURT
5                              FOR THE EASTERN DISTRICT OF CALIFORNIA
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8    UNITED STATES OF AMERICA,                           )   CR NO. 2:10-CR-0507-WBS
                                                         )
9                Plaintiff,                              )   MODIFICATION OF SCHEDULE FOR
      v.                                                 )
                                                             PRE-SENTENCE REPORT AND FOR FILING
10                                                       )
                                                         )   OF OBJECTIONS TO THE PRE-SENTENCE
11   ALVINO SALMERON,                                    )   REPORT
                                                         )
12               Defendant.                              )
                                                         )
13

14    The Probation Officer and all parties shall adhere to this schedule:
15

16   Judgment and Sentencing date:                                August 26, 2013 at 9:30 a.m.

17   Reply or Statement                                           August 19, 2013
18   Motion for Correction of the Pre-Sentence                    August 5, 2013
19   Report shall be filed with the court and
     served on the Probation Officer and opposing
20   counsel no later than:

21   The Pre-Sentence Report shall be filed with                  July 29, 2013
     The court and disclosed to counsel no later than:
22

23   Counsel’s written objections to the Pre-                     July 22, 2013
     Sentence Report shall be delivered to the
24   Probation Officer and opposing counsel
     No later than:
25
     The proposed Pre-Sentence Report                             July 8, 2013
26
     shall be disclosed to counsel no later than:
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